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Attorneys for Plaintiff Pacira
BioSciences, Inc.

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

 PACIRA BIOSCIENCES, INC.,
                                               Civil Action No. 2:21 Civ. 09264
                             Plaintiff,

              v.                                Oral Argument Requested

 AMERICAN SOCIETY OF
 ANESTHESIOLOGISTS, INC., et al.,              MOTION DAY: May 17, 2021

                             Defendants.


NOTICE OF PLAINTIFF PACIRA BIOSCIENCES, INC.’S MOTION FOR
                PRELIMINARY INJUNCTION




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      PLEASE TAKE NOTICE that on May 17, 2021, at 10:00 a.m., or as soon

thereafter as counsel may be heard, the undersigned attorneys for Plaintiff Pacira

BioSciences, Inc. (“Pacira”) shall move this Court, at the United States District

Court for the District of New Jersey, Martin Luther King, Jr. Building & U.S.

Courthouse, 50 Walnut Street, Newark, New Jersey, for the entry of an order

pursuant to Federal Rule of Civil Procedure 65 preliminarily enjoining Defendant

American Society of Anesthesiologists, Inc., to retract publication of three false and

disparaging articles, an accompanying podcast, and related continuing medical

education materials on its website, to publish a retraction of the same disparaging

materials in the next issue of its journal Anesthesiology, to prohibit the individual

defendants from further publishing or circulating the disparaging material, and for

such other relief as the court deems just and proper.

      PLEASE TAKE FURTHER NOTICE that, in support of this motion, Pacira

will rely upon the attached Memorandum of Law, various exhibits and declarations

thereto appended, as well as any submissions offered on reply.

      PLEASE TAKE FURTHER NOTICE that Pacira seeks expedited

determination of this motion.

      PLEASE TAKE FURTHER NOTICE that a proposed form of Order is also

submitted herewith.




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Dated April 14, 2021               Respectfully submitted,
                                   LATHAM & WATKINS LLP

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                                   Inc.




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